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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

   IN RE:                                       )
                                                )
   Susan Amina Eliya,                           )              Case No. 20-15060 EEB
   SSN: xxx-xx-3797                             )              Chapter 7
                                                )
                                                )
                                                )
   Debtor                                       )

        DEBTOR’S OBJECTION TO MOTION TO APPROVE STIPULATION
              BETWEEN TRUSTEE AND ALOHA CAPITAL, LLC

           Comes now, Law Office of David M. Serafin, counsel for Debtor, Susan Amina
   Eliya, who respectfully states as follows:

           (1) Debtor disagrees with the Chapter 7 Trustee’s position that the Mohr
   Capital lien is "invalid" because at the time of recording, Green Star Rising was not the
   owner of Debtor’s primary residence located at 2 Adams St., Apt 705, Denver, CO
   80206-5721 when the lien was originally filed. Additionally, the Trustee claims that
   because the Mohr Capital lien was “voluntary” under Section 522(g)(1)(A), Debtor
   completely loses her statutory homestead exemption or, in the alternative, that the
   homestead only gets paid after the Mohr Capital lien is paid in full, which contention
   Debtor disagrees with. Debtor submits that the Mohr Capital lien was not “voluntary”
   because the owner on record (Debtor Susan Amina Eliya) is not the entity whom the lien
   was placed against. The lien was placed against Green Star Rising, Inc. The owner of 2
   Adams St., Apt 705, Denver, CO 80206-5721 was Susan Amina Eliya when the Mohr
   Capital lien against Green Star Rising, Inc. was filed and therefore it was not voluntary
   on the part of Susan Amina Eliya.

           (2) Debtor has requested that the undersigned counsel file the foregoing Objection
   as she sees no other options to prevent her primary residence from being involuntarily
   sold.

          WHEREFORE, Debtor respectfully requests that this Court deny the Motion to
   Approve Stipulation Between Trustee and Aloha Capital, LLC, and for all other just and
   appropriate relief.




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                                             Dated this 25th day of June 2021

                                             /s/ David M. Serafin
                                             David M. Serafin, #33686
                                             501 S. Cherry St., #1100
                                             Denver, CO 80246
                                             (303) 862-9124
                                             david@davidserafinlaw.com




                             CERTIFICATE OF MAILING

           The undersigned hereby certifies that on the 25th day of June 2021, I served
   a copy of the foregoing DEBTOR’S OBJECTION TO MOTION TO APPROVE
   STIPULATION BETWEEN TRUSTEE AND ALOHA CAPITAL, LLC by ECF service
   to the following:

   Wadsworth Garber Warner Conrardy, P.C.
   Attys. for Chapter 7 Trustee


                                                    /s/ David M. Serafin




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